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10
      Attorneys for Plaintiff
11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13    Melissa Meyer,                                ) Case No. 2:17-cv-04631-SJO-MRW
14                                                  )
      Plaintiff,
                                                    ) NOTICE OF SETTLEMENT
15
            vs.                                     )
16
      EXPERIAN INFORMATION                          )
17    SOLUTIONS, INC.,                              )
                                                    )
18    Defendant.                                    )
19                                                  )
                                                    )
20
                                                    )
21                                                  )
22
            NOW COMES THE PLAINTIFF by and through her attorney to
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      respectfully notify this Honorable Court that the parties have reached a settlement
24
      in principle and are currently preparing a settlement agreement. Plaintiff, with
25
      Defendant’s consent and agreement, requests that this Honorable Court vacate all
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      pending deadlines and hearings and allow thirty (30) days within which to file
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      dispositive documentation, including a Joint Stipulation of Dismissal. This Court
28
      shall retain jurisdiction over this matter until fully resolved.


                                         Notice of Settlement - 1
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                       Respectfully submitted this 4th Day of August, 2017.
2                                       By: s/Todd M. Friedman
3                                          TODD M. FRIEDMAN
                                           Law Offices of Todd M. Friedman, P.C.
4
                                           Attorney for Plaintiff
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                                    Notice of Settlement - 2
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1
      Filed electronically on this 4th Day of August, 2017, with:
2

3     United States District Court CM/ECF system
4
      Notification sent electronically via the Court’s ECF system to:
5

6
      Honorable S. James Otero
      United States District Court
7     Central District of California
8
      And all Counsel of Record on the electronic service list.
9

10

11
      This 4th Day of August, 2017.

12
      s/Todd M. Friedman
13    Todd M. Friedman
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                                       Notice of Settlement - 3
